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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
CONSOLIDATED LITIGATION *
* NUMBER: 05-4182 “K”(2)
*
* JUDGE DUVAL
*
PERTAINS TO: INSURANCE * MAG. WILKINSON
(Mass Joinder Cases) *
Abadie I 06-5164 *
Abadie II 07-5112 *
Allen 07-5111 *
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ORDER
CONSIDERING THE FOREGOING, it is ORDERED that Plaintiffs’ Motion to
Extend Dismissal Order be and hereby is GRANTED. The Court hereby extends its February 4,
2009 Dismissal Order (Rec. Doc. 70, Case No. 07-5112) and subsequent May 1, 2009 (Rec Doc.
18746, Case No. 05-4182) and August 3, 2009 (Rec. Doc. 19189, Case No. 05-4182) for an
additional ninety (90) days to allow the parties to continue consummating final resolution of
these matters.

New Orleans, Louisiana, this day of November, 2009.

UNITED STATES DISTRICT COURT JUDGE

